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1ExU Messages Detween
former FBI officials capture
reactions to stories on
Russia investigation

By Laura Jarrett and Manu Raju , CNN
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(CNN) — Two former FBI officials wno have come under fire for exchanging text
messages Critical of President Donald Trump have come under greater scrutiny this
week, as additional texts capture their immediate reactions to a stream of news articles
that poured in during the early months of the Trump presidency about the FBI's
investigation into Russian interference in the 2016.

Lawmakers received five months’ worth of recovered messages between former FBI
special agent Peter Strzok and FBI lawyer Lisa Page in early August, but North Carolina
Republican Rep. Mark Meadows released specific extracts this week, indicating in a letter
to the Justice Departmentthat they "suggest a coordinated effort on the part of the FBI
and DOJ to release information in the public domain potentially harmful to President
Donald Trump's administration."

That issue is part of an ongoing inquiry Currently being reviewed by theJustice
Department's internal watchdogas witnesses continue to be interviewed by the inspecto!
general's office about how FBI officials conducted the Russia investigation.

While that investiaation remains anaoina and additional messaaes could surface. CNN's

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communication with the Tormer nead of tne FBI'S press omce, Micnael Kortan, Is a
consistent theme throughout their interactions. And at times, they were consulted as
subject matter experts by the press office to help facilitate accurate reporting -- accordin
to source familiar with their interactions -- a regular occurrence as journalists fact-checl
stories before publication.

 

"It will make your head spin to realize how many stories we played a personal role in,"
Page wrote to Strzok on December 19, 2016. "Sheesh, this has been quite a year," she
added, forwarding a link toThe New York Times' Most Read Stories of 2016.

The reference to playing a "role" in the stories, while open to interpretation, did not mean
contributing to the underlying reporting, but rather their professional roles meant they
were privy to certain information that only a small group of people knew at the time,
according to a source familiar with the exchange.

In another text, the two appear to discuss CNN'sJanuary 2017 reportingthat Trump was
briefed on the dossier compiled by ex-British intelligence operative Christopher Steele.

"Sitting with Bill watching CNN. A TON more out," Strzok texted Page on January 10,
2017. "Hey let me know when you can talk. We're discussing whether, now that this is
out, we use it as a pretext to go interview some people."

It is not clear what was meant by "pretext," but in counterintelligence investigations it is
common practice to approach someone for questioning without divulging the true reaso'
for the interview, which might be highly classified. Something of interest publicly reportec
in the media might serve as an effective way for an FBI agent to question someone while
protecting any sensitive sources and methods, explained Josh Campbell, a CNN analyst
and former FBI supervisory special agent.

A straightforward explanation of their intent, nowever, is rarely offered explicitly via text,
and, as a result, these cryptic lines result in a Rorschach-like test of their meaning in a
week where the credibility of Page and Strzok has again been put to the test

The previous sets of texts show Strzok and Page mocking politicians on both sides of the
aisle, but their unyielding contempt for Trump has been repeatedly cited as evidence by
the President and his allies that special counsel Robert Mueller's investigation was
irreparably tainted from the beginning because Strzok and Page both briefly worked or
his team.

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work-issued pnone witn rage. He was Tired Trom tne FBI In AUgUST. Page was also on
Mueller's team for a brief stint before returning to the FBI, and she resigned from the
bureau in May.

Representatives for Page and Strzok declined to offer comment for this story.

Not 'freelancing'

Besides regularly tracking the alerts from news outlets on their phones, the two often alsc
appear troubled by what they viewed as inaccuracies in reporting or gripes about
headlines.

On January 19, 2017, Page texted Strzok, "I'm really angry about the times article. This
just has got to stop." He agreed, responding the next day, "Yeah and it's not even news!
No substance, and largely wrong. The press is going to undermine its credibility.’

A CNN review of New York Times articles published that day shows one titled,
"Intercepted Russian Communications Part of Inquiry Into Trump Associates" but it is
unclear whether their texts were in reference to that article and no texts suggest they
provided information for it.

On February 14, 2017, after the New York Times published its accountof the FBI's
interview with former National Security Adviser Michael Flynn, Page and Strzok appear to
discuss Kortan's involvement in the following exchange:

Strzok: Bottom line Mike ran through boss' thinking/timeline/narrative on this. Bunch oi
additional detail (redacted) has etc

Page: K. Did you mention my attendance to kortan?

Strzok: Not to Mike, he had left. The guys left seemed to think no, said Mike was going to
talk to you.

Another message refers to cooperation and "access," but they do not name the outlet

"Going to be very apparent we cooperated and gave access A LOT for an article that |
think is going to be very negative. Bad enough for negative press. Far worse to chose to

Use.
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Moreover, other messages show their befuddlement and unease as they try to figure out
the source of "leaks" to the news media and struggle with guarding against their owr
information falling into the wrong hands of those "with partisan axes to grind.

"Think our sisters have begun leaking like mad," Strzok told Page on December 15, 2016.
without further elaboration. "Scorned and worried and political, they're kicking in t
overdrive."

Strzok does not specify who their "sisters" were, but Campbell explained that agents
often referred to colleagues at the CIA and NSA as "sisters."

 

 

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